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                                   UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                  LOS ANGELES DIVISION


In re:                                                            §                 Case No. 14-14105
                                                                  §
         Randall William Blanchard                                §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 03/31/2022                                                            Petition Date: 07/01/2014



Plan Confirmed Date:09/25/2015                                                       Plan Effective Date: 12/07/2015


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity:
                                                                                     Name of Authorized Party or Entity




/s/ Richard M. Pachulski                                                Richard M. Pachulski, Chapter 11 Trustee
Signature of Responsible Party                                           Printed Name of Responsible Party
05/04/2022
Date                                                                    10100 Santa Monica Blvd., 13th Floor
                                                                        Los Angeles, CA 90067
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name                                                                                              Case No. 14-14105
                    Randall William Blanchard

Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

 a. Total cash disbursements                                                                           $42,545             $11,487,084
 b. Non-cash securities transferred                                                                          $0                    $0
 c. Other non-cash property transferred                                                                      $0                    $0
 d. Total transferred (a+b+c)                                                                          $42,545             $11,487,084

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                         $0    $3,656,183             $0     $3,656,183
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Pachulski Stang Ziehl & Jones LOther                                    $0    $1,475,389             $0     $1,475,389
        ii       Weintraub Tobin                    Special Counsel                      $0       $93,100             $0        $93,100
        iii      Weintraub Tobin                    Special Counsel                      $0       $73,346             $0        $73,346
        iv       BPE&H                              Financial Professional               $0       $28,843             $0        $28,843
        v        BSW & Associates                   Financial Professional               $0      $159,885             $0       $159,885
        vi       BSW & Associates                   Financial Professional               $0      $208,530             $0       $208,530
        vii      Winthrop Couchot                   Lead Counsel                         $0      $470,636             $0       $470,636
        viii     Winthrop Couchot                   Lead Counsel                         $0      $202,344             $0       $202,344
        ix       Lobel Weiland Golden Friedma Other                                      $0      $611,446             $0       $611,446
        x        Squar, Milner, Peterson, MirandFinancial Professional                   $0      $318,307             $0       $318,307
        xi       South Coast Communities, LLCOther                                       $0       $14,357             $0        $14,357
        xii
        xiii
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        xv
        xvi
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        xxvii
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        xxix


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       xxxi
       xxxii
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       xxxiv
       xxxv
       xxxvi
       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
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       lii
       liii
       liv
       lv
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       xcvii
       xcviii
       xcix
       c
       ci


                                                                             Approved       Approved     Paid Current     Paid
                                                                           Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor            Aggregate Total
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i
       ii
       iii
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       vi


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Debtor's Name Randall William Blanchard                                       Case No. 14-14105


       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi
       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii

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       xlix
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       li
       lii
       liii
       liv
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Debtor's Name          Randall William Blanchard                                                               Case No. 14-14105


            xci
            xcii
            xciii
            xciv
            xcv
            xcvi
            xcvii
            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                        $0      $3,656,183             $0     $3,656,183

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments          Paid Current                                                  Allowed
                                                 Under Plan           Quarter           Paid Cumulative       Allowed Claims       Claims
 a. Administrative claims                             $2,020,052               $0                $2,020,052          $2,020,052      100%
 b. Secured claims                                    $1,958,000               $0                $1,958,000          $1,958,000       100%
 c. Priority claims                                            $0              $0                       $0                  $0          0%
 d. General unsecured claims                                   $0                  $0            $7,146,486         $20,560,510        35%
 e. Equity interests                                           $0              $0                       $0


Part 4: Questionnaire
     a. Is this a final report?                                                                               Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                     Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Richard M. Pachulski                                              Richard M. Pachulski
Signature of Responsible Party                                         Printed Name of Responsible Party
Chapter 11 Trustee                                                     05/04/2022
Title                                                                  Date




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                                                  Non-Bankruptcy Table 1-50




                                                 Non-Bankruptcy Table 51-100




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